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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       Case No. 21-cv-23709-COOKE/O’SULLIVAN

 WILSON VILLA,

        Plaintiff,

 vs.

 TURCIOS GROUP CORP, and
 HENRY TURCIOS, individually,

       Defendants.
 ____________________________________/
                        ORDER OF REFERRAL TO MEDIATION
        Trial having been set in this matter for the two-week period commencing August 22,
 2022, under Federal Rule of Civil Procedure 16 and Southern District Local Rule 16.2, it is
 hereby

        ORDERED and ADJUDGED as follows:

       l.     All parties are required to participate in mediation. The mediation must be
 completed by June 20, 2022.

         2.     Plaintiff ’s counsel, or another attorney agreed upon by all counsel of record
 and any unrepresented parties, will be responsible for scheduling the mediation conference.
 The parties are encouraged to avail themselves of the services of any mediator on the List of
 Certified mediators, maintained in the office of the Clerk of this Court, but may select any
 other mediator. The parties must agree upon a mediator within 15 days from the date of
 this Order and notify the Court. If there is no agreement, Plaintiff ’s counsel must promptly
 notify the Clerk in writing and the Clerk will designate a mediator from the List of Certified
 Mediators, which designation will be made on a blind rotation basis.

       3.      The parties must agree on a place, date, and time for mediation convenient to
 the mediator, counsel of record, and any unrepresented parties. The Plaintiff ’s attorney
 must complete the attached proposed Order Scheduling Mediation and submit it to the
 Court no later than 30 days before the mediation.

        4.     The appearance of counsel and each party, or a representative of each party
 with full authority to enter into a full and complete compromise and settlement, is
 mandatory. If insurance is involved, an adjuster with authority up to the policy limits or the
 most recent demand, whichever is lower, must attend.
        5.     All discussions, representations, and statements made at the mediation
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 conference will be confidential and privileged.

        6.     At least ten days prior to the mediation date, all parties must present to the
 mediator a brief written summary of the case identifying issues to be resolved. Copies of
 these summaries must be served on all other parties.

        7.     The Court may impose sanctions against parties and/or counsel who do not
 comply with the attendance or settlement authority requirements herein or who otherwise
 violate the terms of this Order. The mediator must report non-attendance and may
 recommend imposition of sanctions by the Court for non-attendance.

         8.    The mediator will be compensated in accordance with the standing order of
 the Court entered pursuant to Rule 16.2(b)(7), or on such basis as may be agreed to in
 writing by the parties and the mediator selected by the parties. The parties will share the
 cost of mediation equally unless otherwise ordered by the Court.

         9.    If a full or partial settlement is reached in this case, counsel must promptly
 notify the Court of the settlement in accordance with Local Rule 16.2(f), by the filing of a
 notice of settlement signed by counsel of record within ten (10) days of the mediation
 conference. Thereafter the parties must forthwith submit an appropriate pleading
 concluding the case.

        10.      Within five days following the mediation conference, the mediator must file a
 Mediation Report indicating whether all required parties were present. The report must also
 indicate whether the case settlement (in full or in part), was continued with the consent of
 the parties, or whether the mediator declared an impasse.

         11.    If mediation is not conducted, sanctions may be imposed.

         DONE and ORDERED in chambers at Miami, Florida, this 6th day of December
 2021.




 Copies furnished to:
 John J. O’Sullivan, Chief U.S. Magistrate Judge
 Counsel of record
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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                        Case No. 21-cv-23709-COOKE/O’SULLIVAN

 WILSON VILLA,

        Plaintiff,

 vs.

 TURCIOS GROUP CORP, and
 HENRY TURCIOS, individually,

       Defendants.
 ____________________________________/
                          ORDER SCHEDULING MEDIATION

        The mediation conference in this matter must be held with __________________ on

 _______________, 20___, at _______ .m. at __________________________________

 _________________________________, Florida.

        ENTERED this _____ day of _______________ 2020.




                                               _______________________________
                                               MARCIA G. COOKE
                                               UNITED STATES DISTRICT JUDGE

 Copies furnished to:
